Case 1:11-cr-20279-RNS Document 630 Entered on FLSD Docket 02/24/2012 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                 CASE NO. 11-20279-CR-SCOLA

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  STANISLAV PAVLENKO et al.,

        Defendants.
  _____________________________/

            ORDER DENYING MOTION TO ADMIT POLYGRAPH EVIDENCE
         THIS MATTER is before the Court on Defendant Stanislav Pavlenko’s Motion In Limine
  to Admit Polygraph Evidence [ECF No. 532].          On February 15, 2012, the Court held a
  preliminary conference and hearing to determine if Defendant should be given an evidentiary
  hearing concerning the admissibility of his polygraph examination evidence at trial. After
  careful consideration of the parties’ written submissions and their oral arguments, the Court
  concludes that an evidentiary hearing would not be helpful and, further, that the Motion to Admit
  Polygraph Evidence should be denied.

                                           Background
         On August 30, 2011, Defendant obtained a polygraph examination from Richard W.
  Keifer, a purported “leading” polygraph expert who was formerly Chief of the FBI’s Polygraph
  Unit in Washington, D.C. See Mot. at 3-4. Keifer examined Defendant and produced a report of
  the results on August 31, 2011. Defendant represents that Keifer asked a series of case-relevant
  questions and measured Defendant’s responses using “generally accepted polygraph charting
  evaluated in accordance with scoring techniques adopted and taught by the United States
  Government.” See id. at 5. The examination questions were, according to Defendant, designed
  to address “the most fundamental aspects” of the Government’s case against him. See id. Keifer
  purportedly concluded that there was no deception in any of Defendant’s responses to the
  questions posed.
Case 1:11-cr-20279-RNS Document 630 Entered on FLSD Docket 02/24/2012 Page 2 of 8




         Defendant asserts that he will take the stand at trial, and he seeks to admit Keifer’s
  polygraph examination report in order to rebut what he anticipates to be “the [G]overnment’s
  inevitable attacks” against him when he testifies. Defendant would introduce the polygraph
  results into evidence to “support and corroborate [his] position and contemplated testimony that
  he did not have the requisite guilty knowledge or criminal intent to join a conspiracy with anyone
  to perpetrate frauds upon any patron of the Caviar Bar.” See id. at 3. Defendant also claims that
  the polygraph evidence supports and corroborates his lack of knowledge “that other individuals,
  working at Caviar Bar, were engaging in fraudulent techniques or practices so as to financially
  victimize Caviar Bar patrons.” See id.
         The Court held a preliminary conference and hearing on February 15, 2012 to determine
  whether it would be appropriate to hold an evidentiary hearing, to include a possible Daubert1
  inquiry, on the admissibility of Defendant’s polygraph evidence. At the preliminary conference
  and hearing, counsel for Defendant was unable to articulate or explain how he intended to satisfy
  the Daubert requirements if an evidentiary hearing were held. Nor was counsel otherwise able to
  explain why an evidentiary hearing was justified.

                                           Legal Standard
         “Opinions based on polygraph examinations are seldom, if ever, admissible into
  evidence.” Norelus v. Denny’s, Inc., 628 F.3d 1270, 1284 (11th Cir. 2010). In fact, at one time,
  polygraph evidence was per se inadmissible in this Circuit. See United States v. Gilliard, 133
  F.3d 809, 812 (11th Cir. 1998).        In United States v. Piccinonna, 885 F.2d 1529, 1536
  (11th Cir. 1989), however, the Eleventh Circuit sitting en banc ruled that polygraph evidence
  may be admitted in two discrete situations: when the parties stipulate in advance as to the
  circumstances of the polygraph test and the scope of its admissibility, or when used to
  corroborate or impeach the testimony of a witness at trial. While Piccinonna did away with the
  per se ban on admissibility, it did not in any way limit the trial court’s discretion to exclude
  polygraph evidence “on other grounds under the Federal Rules of Evidence.” See id.; see also
  United States v. Carroll, 2012 WL 89953, at *2 (11th Cir. Jan. 12, 2012) (finding “it was
  within the district court’s discretion to exclude the polygraph evidence as unreliable under
  Fed. R. Evid. 702 and unduly prejudicial under Fed. R. Evid. 403”).


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             See Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).
Case 1:11-cr-20279-RNS Document 630 Entered on FLSD Docket 02/24/2012 Page 3 of 8




         Notably, Piccinonna was decided prior to the Supreme Court’s decision in Daubert,
  when the Frye2 test still governed the admissibility of expert opinions. See Piccinonna, 885 F.2d
  at 1536 (holding only that “the Frye general acceptance test does not act as a bar to admission of
  polygraph evidence as a matter of law”). Since Daubert, several district courts in this Circuit
  have analyzed the admissibility of polygraph evidence under the now-governing standard and
  have excluded such evidence under Federal Rule of Evidence 702. See, e.g., United States v.
  Arthur, 2011 WL 3844090, at *4 (S.D. Fla. Aug. 29, 2011); Hiscox Dedicated Corporate
  Member, Ltd v. Matrix Group Ltd., Inc., 2011 WL 2148088, at *2 (M.D. Fla. May 31, 2011); see
  also United States v. Derosa, 2011 WL 742655, at *1 (S.D. Fla. Feb. 23, 2011); United States v.
  Loaiza-Clavijo, 2012 WL 529981, at *3 (N.D. Ga. Jan. 25, 2012), report and recommendation
  adopted by 2012 WL 529975 (N.D. Ga. Feb. 17, 2012). In addition, the Eleventh Circuit has
  affirmed a trial court’s determination that polygraph evidence fails Daubert scrutiny and is
  unreliable, not scientific, and not sufficiently relevant under Rule 702. See United States v.
  Henderson, 409 F.3d 1293, 1302-03 (11th Cir. 2005).
         Focusing on the significant leeway and discretion afforded district judges to exclude
  expert polygraph evidence, the Eleventh Circuit said in 2005 that “we have yet to hold that
  exclusion of polygraph evidence at trial was an abuse of discretion under Piccinonna.”
  See Henderson, 409 F.3d at 1303. More recently, in 2010, the Court of Appeals reaffirmed this
  proposition. See Norelus, 628 F.3d at 1284 (“We have never held that it is an abuse of discretion
  to exclude the opinion of a polygraph examiner.”).

                                             Legal Analysis
         Based upon thoughtful consideration of the arguments made during the preliminary
  hearing and after careful review of the parties’ written submissions, the Court concludes that an
  evidentiary hearing on the admissibility of Defendant’s polygraph evidence is neither necessary
  nor justified in this case. In addition, the Court finds that such evidence is not admissible at trial.
         In Henderson, the Eleventh Circuit affirmed the trial court’s determination that polygraph
  evidence was not admissible under Daubert. Significantly, the trial court’s findings were not

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           See Frye v. United States, 293 F. 1013 (D.C. Cir. 1923). In Daubert, the Supreme Court
  “held that Frye had been superseded by the Federal Rules of Evidence and that expert testimony
  could be admitted if the district court deemed it both relevant and reliable.” See United States v.
  Scheffer, 523 U.S. 303, 311 n.7 (1998).
Case 1:11-cr-20279-RNS Document 630 Entered on FLSD Docket 02/24/2012 Page 4 of 8




  wholly based upon case-specific deficiencies in the polygraph test at issue; rather, they mostly
  concerned the problematic nature of the “science” of polygraphy itself:
         First, [the magistrate judge] found that the theories of polygraphy at issue could
         not adequately be tested. Polygraphs monitor the subject’s physical responses to
         questioning. An examiner then interprets the physiological data and opines about
         whether the subject was lying. The magistrate concluded that while the physical
         responses recorded by a polygraph machine may be tested, “there is no available
         data to prove that those specific responses are attributable to lying.” Second, she
         remarked that the error rate for polygraph testing “is not much more reliable than
         random chance and does not meet the stricter standards of scientific methods
         required by Rule 702 and Daubert.” Third, she noted that despite the presence of
         standards regulating polygraphers, all compliance is self-imposed, and that
         effective countermeasures existed to defeat accurate results. Finally, she
         determined that polygraphy did not enjoy general acceptance from the scientific
         community, relying both on disagreement between federal Circuit courts and
         Justices of the U.S. Supreme Court over the effectiveness of polygraphs, and from
         one of [the defendant’s] own witnesses. The district court approved and adopted
         the report and recommendation in its entirety.
         See Henderson, 409 F.3d at 1303 (citations omitted). In reviewing these findings, the
  Eleventh Circuit found that “[t]he trial court did not abuse its discretion in excluding the
  evidence under Rule 702.” See id.
         Following the Eleventh Circuit’s decision in Henderson, some district courts have
  conducted a Daubert hearing and determined that polygraph evidence is not admissible.
  See, e.g., United States v. Evans, 469 F. Supp. 2d 1112, 1113 (M.D. Fla. 2006). Other district
  courts have excluded such evidence under Rule 702, as interpreted by Daubert, without holding
  an evidentiary hearing. See, e.g., Arthur, 2011 WL 3844090, at *4; Hiscox Dedicated Corporate
  Member, 2011 WL 2148088, at *2.
         The purpose of the preliminary hearing held in this matter was to determine the necessity
  of an evidentiary hearing, possibly to include a Daubert inquiry, as to the admissibility of
  Defendant’s polygraph evidence. “As the proponent of the polygraph evidence, Defendant is
  required to offer evidence to establish the polygraph evidence at issue here is reliable.” Loaiza-
  Clavijo, 2012 WL 529975, at *4; see also Derosa, 2011 WL 742655, at *1. At the preliminary
  hearing, however, the Defendant was unable to articulate any witness or evidence that he would
  put on to justify an evidentiary inquiry. Nor was the Defendant able to proffer any information
  or evidence showing any advances or changes in the “science” of polygraphy that would possibly
  alter the outcome and conclusions reached by the other courts that have conducted Daubert
Case 1:11-cr-20279-RNS Document 630 Entered on FLSD Docket 02/24/2012 Page 5 of 8




  hearings and found such evidence inadmissible. Indeed, at the hearing Defendant was unable to
  do so when given the opportunity, and he also failed to do so in his papers. Accordingly, the
  Court finds no justification for holding an evidentiary hearing in this matter and hereby adopts
  the reasoning of those other courts that have found polygraph evidence insufficiently reliable and
  unscientific under Rule 702.
         To be admissible under Rule 702 as interpreted by Daubert, the expert polygraph
  evidence must constitute scientific knowledge and assist the trier of fact to understand the
  evidence or to determine a fact at issue. See Daubert, 509 U.S. at 589-91. To determine whether
  the scientific knowledge prong is satisfied, this Court must consider polygraph theory or
  technique in light of at least five factors: (1) whether the theory or technique underlying
  polygraphy can be, and has been, tested; (2) whether it has been subjected to peer review and
  publication; (3) the known or potential rate of error for polygraphy; (4) the existence and
  maintenance of standards controlling the operation of polygraphy; and (5) whether polygraphy
  has attained general acceptance within the relevant scientific community. See id. at 593–94;
  see also Gilliard, 133 F.3d at 812. The Court agrees with the reasoning those other courts within
  this Circuit that have found polygraph evidence does not meet the first, third, fourth, and fifth of
  these Daubert factors.
         As to the first factor, the Court finds that polygraph theory and technique cannot be
  adequately tested, as “there is no reliable measure of a polygraph’s ability to detect deception
  accurately.” See Loaiza-Clavijo, 2012 WL 529981, at *3. “[T]here is no known physiological
  response to lying, and thus no scientific theory in that regard.” Id. Further, “physiological
  responses consistent with deception may also be the product of various conditions that have
  nothing to do with the truth or falsity of a response.” Id. Thus, this factor weighs against
  admissibility.
         As to the third factor, the Court finds that “there is no basis to establish a reliable error
  rate for polygraph results.” Id. at *4; see also Evans, 469 F. Supp. 2d at 1115 (“due to their
  nature, the error rate . . . for polygraph tests is unknown,” and “the validity and reliability of
  polygraph results are uncertain”); United States v. Gary, 2010 WL 1375411, at *3 (S.D. Fla.
  Mar. 30, 2010) (“there is no consensus that polygraph evidence is reliable”).           “Moreover,
  because the only thing that a polygraph examination proves is that the examinee believes [his]
  own story, ‘accuracy,’ in the context of polygraph results is a very slippery term.” Loaiza-
Case 1:11-cr-20279-RNS Document 630 Entered on FLSD Docket 02/24/2012 Page 6 of 8




  Clavijo, 2012 WL 529981, at *4 (citation omitted). “An examination that is better than mere
  chance, based on inexact science, and which, at most, proves only a subjective ‘truth’ is simply
  not accurate or reliable enough to satisfy the requirements for admissibility of expert testimony.”
  Loaiza-Clavijo, 2012 WL 529975, at *4. Thus, “in conjunction with the inability of polygraph
  results to be adequately tested, there is insufficient evidence to establish a reliable error rate or to
  know the true potential for error in polygraph examinations.” Loaiza-Clavijo, 2012 WL 529981,
  at *4. As such, this factor also weighs against admissibility.
         The Court finds the fourth factor is not met because Defendant has not shown that the test
  was carried out fully consistent with the applicable professional standards.            As Defendant
  represents, the governing professional standards for administering polygraph examinations are
  the Standards of Practice of the American Polygraph Association (“APA”). Mot. at 4-5, 11-12;
  see also Loaiza-Clavijo, 2012 WL 529975, at *6. Defendant states that his polygraph expert,
  Keifer, is a member of the APA and that he followed the appropriate standards, but it is not at all
  clear that he did. In particular, there is no indication on the examination report that the test was
  properly recorded consistent with APA standards, nor is it clear from Kiefer’s resume that his
  continuing education requirements are current for the last two years. See id. at *6-*7 (finding
  fourth Daubert factor not met because polygraph exam was not recorded pursuant to APA
  standards and because “[t]here is no indication on the curriculum vitae of [the polygraph expert]
  that he had completed the APA required minimum of thirty (30) continuing education hours in
  the past two years,” citing APA Standards 3.3.4.); see also Arthur, 2011 WL 3844090, at *4.
  The Court observes that “maintenance and adherence to [polygraph examination] standards are
  self-imposed and cannot adequately guarantee the validity of the polygraph result.” Loaiza-
  Clavijo, 2012 WL 529981, at *5. In any event, “an examinee could still adopt deliberate
  countermeasures to defeat accurate readings,” and, therefore, “even with the existence of and
  adherence to standards, the result may not be accurate.” Id. As such, this factor further weighs
  against admissibility.
         Finally, the Court finds that the fifth factor is not satisfied because “a review of the case
  law in the federal circuits and the Supreme Court show substantial disagreements over the
  effectiveness of polygraphs,” and “there is no consensus within the scientific and legal
  community over the efficacy of polygraph evidence.” See id.; Henderson, 409 F.3d at 1303.
  Although Defendant contends that Piccinonna and developments since 1989 demonstrate that
Case 1:11-cr-20279-RNS Document 630 Entered on FLSD Docket 02/24/2012 Page 7 of 8




  polygraphy has gained the requisite scientific acceptance, this Court disagrees in light of more
  recent decisions in this Circuit that have looked upon polygraph evidence with increased
  skepticism. As one district court explained:
         Defendant’s reliance on a 1989 case from our Circuit, Piccinonna, for the
         proposition that there is universal consensus that polygraph evidence is generally
         accepted in the scientific community is misplaced in light of United States v.
         Scheffer, 523 U.S. 303 (1998), Norelus v. Denny’s, Inc., 628 F.3d 1270
         (11th Cir. 2010), and United States v. Henderson, 409 F.3d 1293 (11th Cir. 2005).
         While Piccinonna recognized a trend within the scientific community indicating
         “increasingly widespread acceptance” of polygraph testing in the late 1980s,
         Scheffer, Norelus, and Henderson reflect a contemporary trend that questions the
         general acceptance of polygraph testing within the scientific community because
         of continuing questions about its reliability.
  Loaiza-Clavijo, 2012 WL 529975, at *7 (citations omitted); see also Evans, 469 F. Supp. 2d at
  1115 (“polygraph evidence has yet to obtain general acceptance within the scientific community
  for anything other than use as an investigative tool”). As polygraph evidence and opinions do
  not enjoy general acceptance within the scientific community, the Court finds that this final
  Daubert factor also weighs against admissibility.
         Because four out of the five Daubert factors are not met here, the Court concludes that
  Defendant’s polygraph evidence is inadmissible under Rule 702. The Court also makes a
  secondary finding that this evidence is inadmissible under Rule 403, which permits the exclusion
  of evidence where its probative value is substantially outweighed by a danger of, among other
  things, unfair prejudice, confusion of the issues, misleading the jury, and wasting time at trial.
  See Fed. R. Evid. 403.
          In weighing the relevant considerations under Rule 403, the Court determines there is a
  real danger that the jury may accord undue weight to expert evidence that attempts to validate
  Defendant’s testimony. Loaiza-Clavijo, 2012 WL 529981, at *6; Arthur, 2011 WL 3844090, at
  *4 (finding that expert polygraph evidence, if admitted, “would constitute impermissible
  bolstering of another witness’s testimony”); see also Evans, 469 F. Supp. 2d at 1115 (“the jury
  could easily conclude that ‘passing’ the polygraph test has more significance than is justified”).
  “Unlike other types of experts who assist the jury in understanding factual matters outside the
  juror’s knowledge, a polygraph expert merely supplies the jury with another opinion, in addition
  to their own, as to whether the witness is telling the truth.” Loaiza-Clavijo, 2012 WL 529981, at
  *6. “In addition, the amount of time needed to present the evidence would shift the focus of the
Case 1:11-cr-20279-RNS Document 630 Entered on FLSD Docket 02/24/2012 Page 8 of 8




  jury away from determining guilt or innocence to collateral matters.” Id.; see also Evans, 469
  F. Supp. 2d at 1115 (“substantial trial time and resources would be unnecessarily consumed with
  a ‘mini-trial’ over the polygraph evidence, its reliability and its meaning.”); United States v.
  Duque, 176 F.R.D. 691, 695 (N.D. Ga. 1998) (“Undue focus on the one opinion of the examiner,
  its scientific basis, and the examiner’s qualifications and methodology will necessarily distract
  the jury from its duty to evaluate all of the evidence.”).
          The Court therefore concludes that “the probative value of Defendant’s evidence, which
  is slight, is substantially outweighed by the unfair prejudice to the Government, by the amount of
  time necessary to present evidence, and by its potential to mislead or confuse the jury.” Loaiza-
  Clavijo, 2012 WL 529981, at *6; see also Hiscox Dedicated Corporate Member, 2011 WL
  2148088, at *2. Accordingly, the Defendant’s polygraph evidence is subject to exclusion under
  Rule 403, as well as Rule 702.
                                               Conclusion
          For the reasons set forth above, the Court rules that an evidentiary hearing as to the
  admissibility of Defendant’s polygraph evidence is not justified or necessary in this case.
  The Court also rules that such evidence is inadmissible under Federal Rules of Evidence 702
  and 403. Therefore, it is hereby ORDERED and AJUDGED that Defendant Stanislav
  Pavlenko’s Motion In Limine to Admit Polygraph Evidence [ECF No. 532] is DENIED.

          DONE and ORDERED in Chambers at Miami, Florida on February 24, 2012.




                                                         ________________________________
                                                         ROBERT N. SCOLA, JR.
                                                         UNITED STATES DISTRICT JUDGE
  Copies to:
  Counsel of Record
